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AO 93 (Rev. 12/09) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Virginia

In the Matter of the Search of

)
(Briefly describe the property to be searched )
or identify the person by name and address) ) Case No, 1:17-SW- (UNDER SEAL)
)
)
)

THE PREMISES LOCATED AT 370 HOLLAND LANE, UNIT

3013, ALEXANDRIA, VA, 22314, MORE PARTICULARLY
DESCRIBED IN ATTACHMENT A

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search

of the following person or property located in the Eastern District of Virginia
(identify the person or describe the property to be searched and give its location): :

See Attachment A.

The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):

See Attachment B.

1 find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

YOU ARE COMMANDED to execute this warrant on or before June 10, 2017
(not to exceed 14 days)
# inthe daytime 6:00 a.m. to 10 p.m. 1 at any time in the day or night as [ find reasonable cause has been
established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge

Theresa Carroll Buchanan
(name)

© I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) Ofor days (not to exceed 30).

Ountil, the facts justifying, the later specific date of

Date and time issued: 5/27/2017 GL pe \

Judge's signature

City and state: Alexandria, VA Hon. Theresa Carroll Buchanan, U.S. Magistrate Judge

Printed name and title
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Return

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

17-SWe (UNDER SEA! 5 24 leo 4-20 DN (on eee

Inventory made in the presence of ;

Inventory of the property taken and name of any person(s) seized:
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Certification

[ declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the designated judge.

Date: {» Ic leo a Woo Sat

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| Executing officer 's signature

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ATTACHMENT A

Property to Be Searched
The property to be searched is the storage unit located at 370 Holland Lane, Unit 3013,
Alexandria, Virginia 22314, as well as any locked drawers, locked containers, safes, computers,
electronic devices, and storage media (such as hard disks or other media that can store data), found
therein. The storage unit is further described as a metal corrugated steel room with a red and white

sign on the exterior with the number 3013.
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ATTACHMENT B

Property to be seized

Records relating to violations of 31 U.S.C. §§ 5314, 5322(a) (Failure to File a

Report of Foreign Bank and Financial Accounts), 22 U.S.C. § 618 (Foreign Agent Registration

Act), and 26 U.S.C. § 7206(a) (Filing a False Tax Return), including:

a.

Any and all financial records for Paul Manafort, Richard Gates or companies
associated with Paul Manafort or Richard Gates, including but not limited to
records relating to any foreign financial accounts;

Any and all federal and state tax documentation, including but not limited to
personal and business tax returns and all associated schedules for Paul Manafort,
Richard Gates, or companies associated with Paul Manafort or Richard Gates;
Letters, correspondence, emails, or other forms of communications with any
foreign financial institution, or any individual acting as the signatory or controlling
any foreign bank account;

Any and all correspondence, communication, memorandum, or record of any kind
relating to the Party of Regions, Viktor Yanukovych, the European Centre for a
Modern Ukraine, or any other foreign principal of Paul Manafort or Richard Gates,
or any company associated with Paul Manafort or Richard Gates;

Any and all correspondence, memorandum, press release, or documentation of any
kind regarding any lobbying or advocacy performed by Paul Manafort, Richard
Gates, or any company associated with Paul Manafort or Richard Gates, on behalf

of the Party of Regions, Viktor Yanukovych, the European Centre for a Modern
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3.

Ukraine, or any other foreign principal of Paul Manafort, Richard Gates, or any
company associated with Paul Manafort or Richard Gates.

Records related to, discussing, or documenting Neocom Systems, Antes
Management, Yiakora Ventures, Global Highway Ltd., Global Endeavor,
Leviathan Advisors, Peranova Holdings, Bletilla Ventures, Lucicle Consultants,
and/or Telmar Investments, including but not limited to bank records, canceled
checks, money drafts, letters of credit, cashier’s checks, safe deposit records,
checkbooks, and check stubs, duplicates and copies of checks, deposit items,
savings passbooks, wire transfer records, and similar bank and financial account
records.

Records related to, discussing, or documenting the Podesta Group.

Any and all daily planners, logs, calendars, schedule books relating to Paul
Manafort or Richard Gates.

Computers or storage media used as a means to commit the Target Offenses.

For any computer or storage medium whose seizure is otherwise authorized by this

warrant, and any computer or storage medium that contains or in which is stored records or

information that is otherwise called for by this warrant (hereinafter, “COMPUTER”):

a.

evidence of who used, owned, or controlled the COMPUTER at the time the things
described in this warrant were created, edited, or deleted, such as logs, registry
entries, configuration files, saved usernames and passwords, documents, browsing
history, user profiles, email, email contacts, “chat,” instant messaging logs,

photographs, and correspondence;

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b. evidence of software that would allow others to control the COMPUTER, such as

viruses, Trojan horses, and other forms of malicious software, as well as evidence

of the presence or absence of security software designed to detect malicious

software;

c. evidence of the lack of such malicious software;

d, evidence indicating how and when the computer was accessed or used to determine

the chronological context of computer access, use, and events relating to crime

under investigation and to the computer user;

e. evidence indicating the computer user’s state of mind as it relates to the crime under

investigation;

f. evidence of the attachment to the COMPUTER of other storage devices or similar

containers for electronic evidence;

g. evidence of counter-forensic programs (and associated data) that are designed to

eliminate data from the COMPUTER:

h. evidence of the times the COMPUTER was used;

i. passwords, encryption keys, and other access devices that may be necessary to

access the COMPUTER;

j. documentation and manuals that may be necessary to access the COMPUTER or

to conduct a forensic examination of the COMPUTER;

k. records of or information about Internet Protocol addresses used by the

COMPUTER;

l. records of or information about the COMPUTER’s Internet activity, including

firewall logs, caches, browser history and cookies, “bookmarked” or “favorite” web

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pages, search terms that the user entered into any Internet search engine, and
records of user-typed web addresses;

m. contextual information necessary to understand the evidence described in this
attachment.

As used above, the terms “records” and “information” includes all forms of creation or
storage, including any form of computer or electronic storage (such as hard disks or other media
that can store data); any handmade form (such as writing); any mechanical form (such as printing
or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,
videotapes, motion pictures, or photocopies).

The term “computer” includes all types of electronic, magnetic, optical, electrochemical,
or other high speed data processing devices performing logical, arithmetic, or storage functions,
including desktop computers, notebook computers, mobile phones, tablets, server computers, and
network hardware.

The term “storage medium” includes any physical object upon which computer data can
be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and

other magnetic or optical media.
